           Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 1 of 19




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                                                 May 17, 2021
        Case 4:19-cv-06669-JST-DMR; Ross v. AT&T Mobility LLC et al.
Dear Magistrate Judge Ryu:
        This letter is submitted in connection with Mr. Ross’s first set of Interrogatories and
Requests for Production to AT&T. Counsel for the parties have met and conferred telephonically
four times to attempt to narrow and resolve their disputes from November 2020 through May 2021.
        The relevant case management dates are as follow: Close of Fact Discovery due by
7/8/2021. Designation of Experts due by 7/22/2021. Designation of Rebuttal Experts due by
8/26/2021. Close of Expert Discovery due by 9/14/2021. Dispositive Motion due by 10/12/2021.
Pretrial Conference set for 2/3/2022. Jury trial set for 2/28/2022 - 3/11/2022.
       On September 28, 2020, Mr. Ross propounded his first set of written discovery to AT&T.
The parties disagree as set forth below.
I.      NOTICE ISSUES
       Mr. Ross and AT&T disagree over the appropriate date range in which AT&T will state
the number of unauthorized SIM swaps reported to AT&T by its customers (Rog No. 1).
        Mr. Ross’s position. AT&T proposed limiting the request starting January 1, 2018. This
proposed temporal limitation attempts to thwart discovery on the key issue in the case, i.e., how
long AT&T was on notice of their growing unauthorized “SIM swap”1 problem prior to Mr. Ross’s
October 2018 SIM swap, so that it could implement measures to combat the problem. Mr. Ross
contends that AT&T failed to implement readily available solutions, e.g., text or email message
confirmation (which he never received, and which AT&T did not send to customers such as Mr.
Ross), voice biometric verification (which AT&T                                        .2), etc. Mr.
Ross has offered to compromise back to January 1, 2015 in light of the fact that the Federal Trade
Commission warned publicly of the SIM swap problem as early as June 7, 2016 when the Chief

1
  An unauthorized SIM swap occurs when a mobile phone carrier changes the SIM card number in a customer's
account without the customer’s express consent, thereby activating a SIM card in another person's device (typically
a hacker), thereby giving complete control of the customer's mobile phone service to the hacker. The hacker thus
receives all text messages (and calls) sent to the customer's number and can change the passwords on the customer's
email and financial accounts upon text receipt of the password reset codes. See First Amended Complaint, ¶¶24-32
for a more complete explanation.
2
  ATT-ROSS_000003248: 6/7/18 email from AT&T AVP Valerie Scheder
                                                                                            (sent over 4 months
before the subject SIM swap)
          Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 2 of 19

Magistrate Judge Ryu
Page 2
Technology Officer of the FTC was herself SIM swapped 3. Mr. Ross believes that the problem
existed for at least a year before that. The request is proportional to the case because AT&T has
sole access to the information, the evidence is key to the issue of liability, and the benefit far
outweighs any nominal burden to AT&T.
         AT&T’s position. Mr. Ross’s request for discovery going back to January 1, 2015 should
fail for the same reasons, whether raised in connection with Interrogatory No. 1 (as in this issue),
or in the third issue in this letter, his date complaint regarding Request for Production No. 1.
Accordingly, AT&T’s discussion here applies to both issues.
        Mr. Ross’s request is premised on the untenable position that “how long AT&T was on
notice” that a very small percentage of the SIM swaps that its vendors performed for AT&T
customers were unauthorized bears some relevance to this case. It does not. What is relevant to
this case is what measures AT&T had to prevent unauthorized SIM swaps, and what its knowledge
of unauthorized SIM swaps was for a reasonable period of time leading up to the alleged SIM
swap. Here, AT&T has produced documents going back to January 1, 2018, nearly a year before
Mr. Ross alleges he experienced an unauthorized SIM swap. This is more than ample to examine
what AT&T’s security measures were, what other measures were under consideration, and its
extensive attempts to remedy the problem. For example, the email Mr. Ross cites—in which an
AT&T employee discusses the decision to focus security expenditures on Avertack rather than
voice biometrics to get the maximum efficacy—is dated June 2018. What AT&T was doing years
before the alleged SIM swap has no bearing on the quality of its security in October 2018.
Moreover, the issue of unauthorized SIM swaps resulting in claimed losses of money or
cryptocurrency from other financial accounts is relatively new, first really developing, and coming
to AT&T’s attention, in 2018.
        Although Mr. Ross initially agreed to the January 1, 2018, cutoff, he later retracted that
agreement and now seeks documents and the number of SIM swaps dating to January 1, 2015.
Although AT&T contends that production to January 1, 2018 is more than sufficient, pursuant to
the local rules, AT&T has offered to compromise by also producing documents back to January 1,
2017, even though its investigation suggests that the amount of relevant material from 2017 is
limited. Mr. Ross has rejected this compromise. His request for years of irrelevant discovery
should be denied. However, AT&T is willing to confer with Mr. Ross regarding discrete requests
for particular documents prior to that date.
II.     ZENKEY
       Mr. Ross and AT&T disagree over the scope of production that Mr. Ross is entitled to
regarding ZenKey (Rog No. 25 and RFP Nos. 35-47).
       Mr. Ross’s position. AT&T has not responded to the written discovery relating to Zenkey.
Since 2017, AT&T has been developing a for-profit “post-SIM swap solution” to prevent the theft
of funds from customer bank and cryptocurrency accounts after a SIM swap has occurred.4 5 6 7
The solution was developed as a direct result of AT&T’s launch of the Mobile Authentication Task

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  https://www.ftc.gov/news-events/blogs/techftc/2016/06/your-mobile-phone-account-could-be-hijacked-identity-
thief
4
  https://about.att.com/story/att_teams_to_develop_mobile_authentication_solution.html
5
  https://krebsonsecurity.com/2018/09/u-s-mobile-giants-want-to-be-your-online-identity/
6
  https://about.att.com/story/2019/mobile_authentication_taskforce_zenkey.html
7
  https://medium.com/metacert/companies-behind-project-verify-show-a-history-of-data-breaches-d5f2658febd6
          Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 3 of 19

Magistrate Judge Ryu
Page 3
Force (over a year before the SIM swap against Mr. Ross), initially branded as “Project Verify,”
and subsequently rebranded as ZenKey. Rather than investing in sufficient solutions to prevent
unauthorized SIM swaps from occurring in the first place, AT&T invested millions of dollars into
ZenKey to market the ZenKey solution to financial institutions, who can pay a fee to do a real-
time “SIM swap database check” to determine if a very recent SIM swap has occurred, and if so,
deny high-risk transaction requests (e.g. a large withdrawal), thereby reducing the banks’ “post-
SIM swap” theft problem (i.e. after an unauthorized SIM swap has occurred). Mr. Ross alleges
that AT&T only implemented half-hearted measures to combat the problem of unauthorized SIM
swaps before they occur, and instead focused on its ZenKey investment, creating a profit
opportunity from the very problem the failed to address. (FAC, ¶¶ 100-105).
        Mr. Ross’s allegations that AT&T prioritizes profit over security and consumer interest are
not fantasy or fanciful musings as AT&T characterizes them: First, Mr. Ross alleges that AT&T
(along with T-Mobile and Verizon) invested over two hundred million dollars into the ZenKey
joint venture to create this for-profit “post-SIM swap solution” (FAC, ¶ 102-105), a position that
stands in stark contrast to the evidence that the voice biometrics solution to unauthorized SIM
swaps was eliminated due to budget cuts as set forth in footnote 2 above. Second, a comprehensive
SIM swap study conducted by Princeton University’s Department of Computer Science and Center
for Information Technology Policy provides a convincing and unbiased view that the major US
carriers do little to protect customers from SIM-swap attacks.8 Third, AT&T’s AVP Cybersecurity
and GM of ZenKey, Johannes Jaskolski, has stated in publicly available videos that ZenKey allows
financial and other service providers to prevent theft of funds after an unauthorized SIM swap
occurs, stating “Project Verify is not vulnerable to SIM swaps”, “I want to design it in a way that
any service provider [i.e. financial institution] will regret if they don't onboard it”, “the service
providers will have to pick up some of the costs”, and “This is like at the chairman level of all 4
carriers.”9 Fourth, in the March 23, 2021 letter to your Honor, Mr. Ross cited specific links to
ZenKey’s publicly available marketing website that confirmed its essential purpose as a SIM swap
solution, and showcased its core revenue generating features as a solution to mitigate theft after
an unauthorized SIM swap has occurred.10 However, after the March 23, 2021 letter, the specific
web pages Mr. Ross cited were dramatically altered from emphasizing the SIM swap-related
benefits to more generic marketing language. 11
        Mr. Ross has agreed to limit his ZenKey requests to the following: (1) the identities and
ZenKey roles and responsibilities of all AT&T’s past and present officers, managers and directors
who have or held positions at ZenKey; (2) the amounts and dates of AT&T’s investments in
ZenKey (including AT&T technology contributions); (3) ZenKey’s detailed financial projections
from conception to the present; (4) all ZenKey presentations and reports that mention SIM swaps;
and (5) all communications between Johannes Jaskolski (AT&T’s AVP Cybersecurity and GM of
ZenKey) and Bill O’Hern (AT&T’s Chief Security Officer and a member of ZenKey’s board of
directors) relating to unauthorized SIM swaps, including as they relate to ZenKey. This
information is clearly relevant, proportional, and easily obtainable.
        AT&T’s position. Mr. Ross’s ZenKey requests are improper both in their general subject
matter and in the specific requests. That is, all of the requests are improper because ZenKey is not

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  https://www.techspot.com/news/83528-princeton-study-shows-us-carriers-do-little-protect.html
9
   https://www.youtube.com/watch?v=NgpA2Dxln-0 (Quotes are at 24 min 36 sec, 31:13, 30:55, 33:48)
10
   https://web.archive.org/web/20210215194125/https:/myzenkey.com/trust-services/
11
   https://myzenkey.com/trust-services/
         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 4 of 19

Magistrate Judge Ryu
Page 4
relevant to this case, and Mr. Ross’s fishing expedition to build out a conspiracy theory that AT&T
allows theft to occur is unsupported speculation. There is nothing in the quoted language above
that even remotely suggests a disregard for customer privacy or any conduct warranting liability
or damages of any sort. Discovery cannot be fueled purely by fanciful musings. There are limits.
        As an initial matter, some clarity is necessary about what ZenKey is and is not. ZenKey is
a technology developed by a collaboration among AT&T, T-Mobile, and Verizon, with the aim
“to build a more secure, multifactor identity authentication platform for all.” About ZenKey,
https://myzenkey.com/about/. It was not developed to address SIM swaps in particular; it more
broadly aims to create an authentication platform, which may benefit users seeking to avoid
unauthorized SIM swaps (not merely for banks, as Mr. Ross claims). ZenKey was not used by, or
available to, Mr. Ross. It went live on September 17, 2020, nearly two years after his alleged SIM
swap. Indeed, information on it is still being released. Although Mr. Ross suggests some suspect
“alter[ation]” of the ZenKey website, the truth is far simpler: the prior version of the website (see
footnote 10) addressed SIM swaps specifically and then noted that AT&T was “working on
making Event Alerts available in 2021”; the new version (see footnote 11) redid the page to add
information on “Trust Alerts” and describe the broader features more generally, rather than
addressing SIM swaps specifically. In any event, ZenKey’s recent launch makes it irrelevant. Mr.
Ross’s baseless conjecture is not that ZenKey was available earlier but was not used, but that
because of a profit motive relating to ZenKey, AT&T did not adopt other solutions to unauthorized
SIM swaps. Details about ZenKey have nothing to do with whether AT&T could have, but did
not, employ other security measures beside ZenKey, or whether AT&T acted with due care in
2018. Moreover, because ZenKey is a collaboration with T-Mobile and Verizon, AT&T would
have to address confidentiality obligations before it could produce sensitive documents regarding
ZenKey, an unwarranted burden given the irrelevance of the information.
        Moreover, Mr. Ross’s particular requests are improper. It is public information that
Johannes Jaskolski, an AT&T employee, is general manager of ZenKey. Mr. Ross provides no
basis for further exploration into ZenKey’s management. Mr. Ross’s request for information on
AT&T’s investments makes no sense in light of Mr. Ross’s relevance theory, which is based on
AT&T’s decision not to adopt other technologies and therefore turns on the existence and
feasibility of such other technologies. Similarly, ZenKey’s financials are not relevant; indeed,
because it is a joint venture, the financial projections for ZenKey are not even applicable to AT&T.
Finally, AT&T has produced communications between Mr. Jaskolski and Mr. O’Hern regarding
to unauthorized SIM swaps. It is possible that some documents that refer to SIM swaps may also
refer to ZenKey, and AT&T has produced such documents. What AT&T objects to is searching
for documents about ZenKey that have no relevance to unauthorized SIM swaps.
III.   AT&T OFFICERS, MANAGERS, AND EMPLOYEES
      Mr. Ross and AT&T disagree over the appropriate date range for which AT&T will
produce documents (RFP No. 1).
       Mr. Ross’s position. AT&T limited its production to documents authored after January
1, 2018. Mr. Ross has disputed this arbitrary temporal limitation since the parties commenced the
process. As with Rog No 1, Mr. Ross has offered to compromise and only ask for RFP No 1
documents authored from January 1, 2015. For the same reasons that Rog No.1 should be
answered, so too should RFP 1. In addition, AT&T’s production appears to be perfunctory. By
way of example, AT&T contended in the prior letter your Honor that the Chief Security Officer
         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 5 of 19

Magistrate Judge Ryu
Page 5
for AT&T (Bill O’Hern) was not an “appropriate custodian.” Since then, AT&T produced only
five emails to or from Mr. O’Hern relating to SIM swaps. It is inconceivable that the person in
charge of preventing fraud, as well as AT&T’s “SIM Swap Response Team,” is a party to only
five communications on the topic. Mr. O’Hern’s example is but one of several where AT&T
appears to have conducted a less than thorough search for responsive documents.
       AT&T’s position. AT&T’s position as to the date limitation on RFP No. 1 is the same as
with respect to Interrogatory No. 1. That is, while an appropriate date cutoff would be January 1,
2018, AT&T will compromise by using January 1, 2017, even though Mr. Ross’s alleged SIM
swap did not occur until October 2018. AT&T incorporates its further discussion above.
       Mr. Ross also complains that AT&T said that Bill O’Hern was not an appropriate
custodian, and that, upon reviewing produced documents, he has noted that Mr. O’Hern is not
involved in much of that correspondence. This complaint makes little sense. That Mr. O’Hern is
not involved in the substantial correspondence AT&T has produced confirms AT&T’s prior
statement that Mr. O’Hern is not an appropriate custodian for this case; the seven custodians that
AT&T has agreed to search have the relevant information. Mr. Ross’s request that AT&T search
Mr. O’Hern because he is not heavily involved is unpersuasive.
IV.     PAYMENTS.
      Mr. Ross and AT&T disagree over whether the total dollar amount AT&T has paid out to
customers on unauthorized SIM swap claims is discoverable (Rog No. 6).
        Mr. Ross’s position. This information is relevant to whether AT&T had a financial
incentive to avoid fixing the problem and instead sought to profit from it, e.g., if it has paid minimal
sums to resolve SIM swap claims, but projected billions in profits from the post-SIM swap solution
(ZenKey) it is developing and marketing to financial institutions. The request is proportional to
the case because AT&T has sole access to the information, the evidence is relevant to the issue of
punitive damages, and the benefit far outweighs any nominal burden to AT&T. AT&T’s
contention that it would have to look into confidentiality provisions of each settlement is
disingenuous: Mr. Ross is asking for an aggregate number, not cases specific information.
        AT&T’s position. The amount of money that AT&T has paid to all customers on any SIM
swap claim—whether individually or in the aggregate—is not relevant or proportionate to whether
Mr. Ross suffered a loss from a SIM swap or whether that loss (if suffered) was caused by AT&T.
Mr. Ross’s conclusory assertion that this is relevant to whether AT&T has a financial incentive to
avoid fixing the problem is illogical. Whether AT&T has paid a lot or a little to other customers,
its incentive is to protect its customers. And if AT&T has paid a small amount, that sheds no light
on whether it therefore viewed the problem as unimportant, or whether the problem in fact just has
limited effect. Moreover, AT&T would have to review any relevant settlement agreement
individually to ensure that no response to this interrogatory could violate any confidentiality
agreement. Particularly given the lack of relevance, there is no basis to put this burden on AT&T.

 Very truly yours,                                   Very truly yours,

 /s/Christopher Grivakes                             /s/Marcellus McRae

 Christopher Grivakes                                Marcellus McRae
          Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 6 of 19


1                                           INTERROGATORIES
2           1.      For each year from 2013 to the present, state the number of unauthorized
                    SIM swaps reported to AT&T by its customers.
3
            RESPONSE: AT&T objects to this Interrogatory as overly broad as to time period. AT&T’s
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     response will be limited to information from the time period of January 1, 2018, to the present.
5
     AT&T further objects that the phrase “unauthorized SIM swaps” is vague and ambiguous as to
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     whose authorization is at issue or what constitutes authorization. AT&T will construe this phrase to
7
     mean SIM swaps that were performed in connection with the telephone numbers of AT&T
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     customers without being authorized by those customers. AT&T objects to this Interrogatory
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     to the extent it seeks information not within AT&T’s possession, custody, or control or not
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     ascertainable by any reasonable method, including which SIM swaps were authorized by an AT&T
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     customer. AT&T objects to this Interrogatory to the extent it seeks information regarding the
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     claims and activities of other AT&T customers, containing the protected CPNI of other AT&T
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     customers, and/or concerning incidents or occurrences that have no relevance to or bearing upon the
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     claims or defenses in this case. Because Ross has alleged that AT&T violated its duties to him and
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     his claims will rise or fall based on the evidence concerning his own interactions with AT&T,
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     information regarding SIM swaps experienced by other customers is not relevant to any issue in
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     this case, is not proportional to the needs of the case, and the burden of identifying, collecting, and
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     producing such information would far outweigh any likely benefit of the disclosure of such
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     information in this matter. AT&T further objects to the extent that the requested information is
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     protected against disclosure by applicable federal and state law and authorities, including by not
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     limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act,
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     18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et
23
     seq. AT&T further objects that the Interrogatory seeks materials protected by the privacy right of
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     third party customers. AT&T further objects that the Interrogatory seeks materials protected by
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     attorney-client and/or attorney work product privileges. AT&T’s investigation into the matters at
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     issue in this case and this Interrogatory is continuing. AT&T reserves the right to supplement, correct,
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     or update this or any response at a later date. Based on the foregoing General and Specific
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 7 of 19


1    Objections, AT&T will meet and confer over whether there is an acceptable scope to this
2    Interrogatory.
3
           6.     State the total dollar amount paid by AT&T to resolve claims arising out of
4                 unauthorized SIM swaps
5           RESPONSE: AT&T objects to this Interrogatory as overly broad, unduly burdensome, and
6    not proportional to the needs of this case because it is unlimited as to time. AT&T’s response will
7    therefore be limited to information from the time period of January 1, 2018 to the present. AT&T
8    also objects that the Interrogatory is overly broad, unduly burdensome, and not proportional to the
9    needs of this case to the extent it seeks information not relevant to the incidents at issue. For
10   example, this Interrogatory calls for information regarding any payments made by AT&T to other
11   AT&T subscribers based on incidents or occurrences that involve entirely different facts and
12   circumstances than any SIM swap at issue in this case. Such information has no relevance to or
13   bearing upon the claims or defenses in this case. Because Ross has alleged that AT&T violated its
14   duties to him and his claims will rise or fall based on the evidence concerning his own interactions
15   with AT&T, information regarding SIM swaps experienced by other customers is not relevant to
16   any issue in this case, is not proportional to the needs of the case, and the burden of identifying,
17   collecting, and producing such information would far outweigh any likely benefit of the disclosure
18   of such information in this matter. Moreover, information pertaining to other subscribers may
19   contain information that is protected against disclosure by applicable federal and state law and
20   authorities, including by not limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored
21   Communications Act, 18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986,
22   18 U.S.C. §§ 2510 et seq. AT&T further objects that any settlements entered by AT&T, to the extent
23   they exist, may include confidentiality provisions that preclude disclosure of any information
24   regarding the settlement, including its amount. AT&T further objects that the Interrogatory seeks
25   materials protected by the privacy rights of third party subscribers. AT&T further objects that the
26   phrase “unauthorized SIM swaps” is vague and ambiguous as to whose authorization is at issue or
27   what constitutes authorization. AT&T will construe this phrase to mean SIM swaps that were
28   performed in connection with the telephone numbers of AT&T customers without being authorized
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           Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 8 of 19


1     by those customers. AT&T’s investigation into the matters at issue in this case and this Interrogatory
2     is continuing. AT&T reserves the right to supplement, correct, or update this or any response at a
3     later date.
4             For the reasons set forth in the foregoing General and Specific Objections, AT&T will not
5     provide a further response to this Interrogatory.
6
            25.       IDENTIFY each of AT&T’s past and present officers, managers and directors
7                     who have held positions with ZENKEY
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            RESPONSE: AT&T objects to this Interrogatory as overly broad as to time period. AT&T’s
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     response and production of documents will be limited to information from the time period of January
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     1, 2018 to the present. AT&T objects that information regarding ZenKey is not relevant to this litigation
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     because ZenKey was not used by or available to Ross or any customer at the time of the alleged SIM
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     swap. AT&T further objects that ZenKey is addressed only in the proposed amended complaint, which
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     the Court has not granted Ross leave to file. AT&T further objects that the Interrogatory is unduly
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     burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
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     information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
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     litigation. AT&T further objects that this Interrogatory is not proportionate to the needs of this case
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     because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden
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     of navigating these complex confidentiality issues. AT&T further objects that Ross can obtain
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     any relevant information regarding ZenKey via public information easily accessible to Ross, including
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     from AT&T’s website. AT&T further objects that AT&T’s intentions regarding the ZenKey App
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     have no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.
22
     AT&T’s investigation into the matters at issue in this case and this Interrogatory is continuing. AT&T
23
     reserves the right to supplement, correct, or update this or any response at a later date.
24
            Based on its General and Specific Objections, AT&T will not further respond to this
25
     Interrogatory.
26

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          Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 9 of 19


1                                   REQUESTS FOR PRODUCTION
2
            35.     All DOCUMENTS RELATING TO features of the ZenKey App which are
3
                    intended to combat fraud or theft due to unauthorized SIM swaps.
4
            RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
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     response and production of documents will be limited to information from the time period of January
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     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
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     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
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     construe this phrase to mean SIM swaps that were performed in connection with the telephone
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     numbers of AT&T customers without being authorized by those customers. AT&T objects to the
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     phrase “which are intended to” as vague and ambiguous with respect to whose intentions are
11
     referenced. AT&T objects that documents regarding ZenKey are not relevant to this litigation
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     because ZenKey was not used by or available to Ross or any customer at the time of the alleged SIM
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     swap. AT&T further objects that ZenKey is addressed only in the proposed amended complaint,
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     which the Court has not granted Ross leave to file. AT&T further objects that the Request is unduly
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     burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
16
     information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
17
     litigation. AT&T further objects that this Request is not proportionate to the needs of this case
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     because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden of
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     navigating these complex confidentiality issues. AT&T further objects that Ross can obtain any
20
     relevant information regarding ZenKey via public information easily accessible to Ross, including
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     from AT&T’s website. AT&T further objects that AT&T’s intentions regarding the ZenKey App
22
     have no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.
23
            AT&T will not produce documents responsive to this Request.
24
            36.     DOCUMENTS sufficient to show (i) the investment in ZENKEY by AT&T (or
25                  any parent, subsidiary or affiliate), (ii) the IDENTITY of officers, managers,
                    directors or employees of AT&T (and its parent, subsidiary and sibling entities)
26                  who have any management role or board seat in ZENKEY, (iii) ZENKEY sales
                    and marketing presentations to financial institutions, and (iv) the detailed
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                    financial projections (including pricing, revenue, and profit) for ZENKEY.
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 10 of 19


1          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
2    response and production of documents will be limited to information from the time period of January
3    1, 2018 to the present. AT&T objects that documents regarding ZenKey are not relevant to this
4    litigation because ZenKey was not used by or available to Ross or any customer at the time of the
5    alleged SIM swap. AT&T further objects that ZenKey is addressed only in the proposed amended
6    complaint, which the Court has not granted Ross leave to file. AT&T further objects that the Request
7    is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
8    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
9    on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
10   because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden of
11   navigating these complex confidentiality issues. AT&T further objects that Ross can obtain any
12   relevant information regarding ZenKey via public information easily accessible to Ross, including
13   from AT&T’s website. AT&T further objects that the requested financial information regarding
14   ZenKey has no relevance to Ross’s claim that his own SIM swap should have or could have been
15   prevented.
16          AT&T will not produce documents responsive to this Request.
17          37.     All organization charts detailing the executive management and board of
                    managers (or directors) of ZENKEY.
18

19          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

20   response and production of documents will be limited to information from the time period of January

21   1, 2018 to the present. AT&T objects to this request for documents concerning the organization of

22   an unaffiliated third party as overly broad because it seeks irrelevant materials having no bearing on

23   the claims or defenses in this matter, and the burden of identifying such materials is not proportional

24   to the needs of this case. AT&T further objects to this request as vague and ambiguous with regard

25   to the term “executive management.” AT&T objects that documents regarding ZenKey are not

26   relevant to this litigation because ZenKey was not used by or available to Ross or any customer at

27   the time of the alleged SIM swap. AT&T further objects that ZenKey is addressed only in the

28   proposed amended complaint, which the Court has not granted Ross leave to file. AT&T further

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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 11 of 19


1    objects that the Request is unduly burdensome and invasive of confidential, proprietary, trade secret,
2    and/or sensitive financial information of third parties that AT&T is prohibited from disclosing and
3    that has no bearing on this litigation. AT&T further objects that this Request is not proportionate to
4    the needs of this case because any tangential relevance Ross could theorize for ZenKey is outweighed
5    by the burden of navigating these complex confidentiality issues. AT&T further objects that Ross
6    can obtain any relevant information regarding ZenKey via public information easily accessible to
7    Ross, including from AT&T’s website. AT&T further objects that the requested information
8    regarding ZenKey has no relevance to Ross’s claim that his own SIM swap should have or could
9    have been prevented.
10          AT&T will not produce documents responsive to this Request.
11          39.     DOCUMENTS sufficient to show the reporting relationship between Johannes
                    Jaskolski & Bill O’Hern from October 2017 to the present.
12

13          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

14   response and production of documents will be limited to information from the time period of January

15   1, 2018 to the present.

16          Subject to and without waiving the foregoing General and Specific Objections, AT&T will

17   produce documents sufficient to show the current reporting relationship between Johannes Jaskolski

18   and Bill O’Hern.

19          40.     Presentations made by Johannes Jaskolski RELATING TO unauthorized SIM
                    swaps.
20
            RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
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     response and production of documents will be limited to information from the time period of January
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     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
23
     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
24
     construe this phrase to mean SIM swaps that were performed in connection with the telephone
25
     numbers of AT&T customers without being authorized by those customers.
26
            AT&T further objects to this Request to the extent that it seeks documents relating to
27
     ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 12 of 19


1    used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
2    objects that ZenKey is addressed only in the proposed amended complaint, which the Court has not
3    granted Ross leave to file. AT&T further objects that to the extent the Request seeks documents
4    regarding ZenKey, the Request is unduly burdensome and invasive of confidential, proprietary, trade
5    secret, and/or sensitive financial information of third parties that AT&T is prohibited from disclosing
6    and that has no bearing on this litigation. AT&T further objects that this Request is not proportionate
7    to the needs of this case to the extent it seeks documents regarding ZenKey because any tangential
8    relevance Ross could theorize for ZenKey is outweighed by the burden of navigating these complex
9    confidentiality issues. AT&T further objects that Ross can obtain any relevant information regarding
10   ZenKey via public information easily accessible to Ross, including from AT&T’s website.
11          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
12   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
13   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
14
            41.     DOCUMENTS RELATING TO AT&T’s COMMUNICATIONS with the
15                  Mobile Authentication Task Force to combat unauthorized SIM swaps,
                    including evaluation, recommendation, approval or rejection of SIM swap
16                  solutions.
17          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
18   response and production of documents will be limited to information from the time period of January
19   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
20   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
21   construe this phrase to mean SIM swaps that were performed in connection with the telephone
22   numbers of AT&T customers without being authorized by those customers. AT&T objects to this
23   Request to the extent it seeks information regarding the claims and activities of other AT&T
24   customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or
25   occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T
26   further objects to this Request to the extent it seeks documents that contain information about other
27   customers that is protected against disclosure by applicable federal and state law and authorities,
28   including by not limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored

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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 13 of 19


1    Communications Act, 18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986,
2    18 U.S.C. §§ 2510 et seq. AT&T further objects to the extent that the Request seeks materials
3    protected by the privacy rights of third party customers.
4          AT&T further objects that documents regarding ZenKey, a product relating to the Mobile
5    Authentication Task Force, are not relevant to this litigation because ZenKey was not used by or
6    available to Ross or any customer at the time of the alleged SIM swap. AT&T objects that the requested
7    information regarding ZenKey has no relevance to Ross’s claim that his own SIM swap should have
8    or could have been prevented. AT&T further objects that ZenKey is addressed only in the proposed
9    amended complaint, which the Court has not granted Ross leave to file. AT&T further objects that the
10   Request is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
11   financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
12   on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
13   because any tangential relevance Ross could theorize for ZenKey or other products relating to the
14   Mobile Authentication Task Force is outweighed by the burden of navigating these complex
15   confidentiality issues. AT&T further objects that Ross can obtain any relevant information regarding
16   ZenKey and the Mobile Authentication Task Force via public information easily accessible to Ross,
17   including from AT&T’s website.
18          AT&T will not produce documents responsive to this Request.
19          42.     DOCUMENTS sufficient to show the intention to incorporate Project Halo
                    technology into ZenKey.
20

21          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

22   response and production of documents will be limited to information from the time period of January

23   1, 2018 to the present. AT&T objects to this Request as vague and ambiguous with respect to whose

24   “intention” is referenced in the Request. AT&T objects to the Request to the extent it incorporates

25   an assumption about AT&T’s policies without any evidentiary support. AT&T objects that

26   documents regarding ZenKey are not relevant to this litigation because ZenKey was not used by or

27   available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that
     ZenKey is addressed only in the proposed amended complaint, which the Court has not granted Ross
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 14 of 19


1    leave to file. AT&T further objects that the Request is unduly burdensome and invasive of
2    confidential, proprietary, trade secret, and/or sensitive financial information of third parties that
3    AT&T is prohibited from disclosing and that has no bearing on this litigation. AT&T further objects
4    that this Request is not proportionate to the needs of this case because any tangential relevance Ross
5    could theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality
6    issues. AT&T further objects that Ross can obtain any relevant information regarding ZenKey via
7    public information easily accessible to Ross, including from AT&T’s website. AT&T further objects
8    that AT&T’s intentions regarding ZenKey and/or Project Halo have no relevance to Ross’s claim that
9    his own SIM swap should have or could have been prevented.
10          AT&T will not produce documents responsive to this Request.
11          44.     COMMUNICATIONS between Johannes Jaskolski and Bill O’Hern
                    RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.
12

13         RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

14   response and production of documents will be limited to information from the time period of January
     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
15
     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
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     construe this phrase to mean SIM swaps that were performed in connection with the telephone
17
     numbers of AT&T customers without being authorized by those customers. AT&T further objects
18
     that the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
19
     swap should have or could have been prevented. AT&T objects to this Request to the extent it seeks
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     information regarding the claims and activities of other AT&T customers, containing the protected
21
     CPNI of other AT&T customers, and/or concerning incidents or occurrences that have no relevance
22
     to or bearing upon the claims or defenses in this case. AT&T further objects to this Request because
23
     the requested information about other customers is protected against disclosure by applicable federal
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     and state law and authorities, including by not limited to the Federal Communications Act, 47 U.S.C.
25
     § 222, the Stored Communications Act, 18 U.S.C. § 2707, and the Electronic Communications
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     Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further objects that the Request seeks materials
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     protected by the privacy right of third party customers.
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 15 of 19


1           AT&T further objects to this Request to the extent that it seeks documents relating to
2    ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not
3    used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
4    objects that ZenKey is addressed only in the proposed amended complaint, which the Court has not
5    granted Ross leave to file. AT&T further objects that the requested information regarding ZenKey
6    has no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.
7    AT&T further objects that to the extent the Request seeks documents regarding ZenKey, the Request
8    is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
9    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
10   on this litigation. AT&T further objects that this Request is not proportionate to the needs of this
11   case to the extent it seeks documents regarding ZenKey because any tangential relevance Ross could
12   theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality issues.
13   AT&T further objects that Ross can obtain any relevant information regarding ZenKey via public
14   information easily accessible to Ross, including from AT&T’s website.
15          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
16   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
17   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
18
            45.     Communications between Johannes Jaskolski and GSMA RELATING TO
19                  unauthorized SIM swaps, including as they relate to ZenKey.

20          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

21   response and production of documents will be limited to information from the time period of January

22   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and

23   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will

24   construe this phrase to mean SIM swaps that were performed in connection with the telephone

25   numbers of AT&T customers without being authorized by those customers. AT&T objects to this

26   Request to the extent it seeks information regarding the claims and activities of other AT&T

27   customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or

28   occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T

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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 16 of 19


1    further objects to this Request because the requested information about other customers is protected
2    against disclosure by applicable federal and state law and authorities, including by not limited to the
3    Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,
4    and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further
5    objects that the Request seeks materials protected by the privacy right of third party customers.
6           AT&T further objects to this Request to the extent that it seeks documents relating to
7    ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not
8    used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
9    objects that the requested information regarding ZenKey has no relevance to Ross’s claim that his
10   own SIM swap should have or could have been prevented. AT&T further objects that ZenKey is
11   addressed only in the proposed amended complaint, which the Court has not granted Ross leave to
12   file. AT&T further objects that to the extent the Request seeks documents regarding ZenKey, the
13   Request is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
14   financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
15   on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
16   to the extent it seeks documents regarding ZenKey because any tangential relevance Ross could
17   theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality issues.
18   AT&T further objects that Ross can obtain any relevant information regarding ZenKey via public
19   information easily accessible to Ross, including from AT&T’s website.
20          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
21   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
22   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
23
            46.     Communications between Johannes Jaskolski and any Verizon employees
24                  RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.

25          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

26   response and production of documents will be limited to information from the time period of January

27   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and

28   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will

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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 17 of 19


1    construe this phrase to mean SIM swaps that were performed in connection with the telephone
2    numbers of AT&T customers without being authorized by those customers. AT&T objects to this
3    Request to the extent it seeks information regarding the claims and activities of other AT&T
4    customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or
5    occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T
6    further objects to this Request because the requested information about other customers is protected
7    against disclosure by applicable federal and state law and authorities, including by not limited to the
8    Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,
9    and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further
10   objects that the Request seeks materials protected by the privacy right of third party customers and/or
11   by confidentiality interests of Verizon.
12         AT&T further objects to this Request to the extent that it seeks documents relating to ZenKey.
13   Documents relating to ZenKey are not relevant to this litigation because ZenKey was not used by or
14   available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that
15   the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
16   swap should have or could have been prevented. AT&T further objects that ZenKey is addressed
17   only in the proposed amended complaint, which the Court has not granted Ross leave to file. AT&T
18   further objects that to the extent the Request seeks documents regarding ZenKey, the Request is
19   unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
20   information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
21   litigation. AT&T further objects that this Request is not proportionate to the needs of this case to the
22   extent it seeks documents regarding ZenKey because any tangential relevance Ross could theorize
23   for ZenKey is outweighed by the burden of navigating these complex confidentiality issues. AT&T
24   further objects that Ross can obtain any relevant information regarding ZenKey via public
25   information easily accessible to Ross, including from AT&T’s website.
26          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
27   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
28   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.

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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 18 of 19


1           47.     Communications between Johannes Jaskolski and any T-Mobile employees
                    RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.
2
            RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
3
     response and production of documents will be limited to information from the time period of January
4
     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
5
     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
6
     construe this phrase to mean SIM swaps that were performed in connection with the telephone
7
     numbers of AT&T customers without being authorized by those customers. AT&T objects to this
8
     Request to the extent it seeks information regarding the claims and activities of other AT&T
9
     customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or
10
     occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T
11
     further objects to this Request because the requested information about other customers is protected
12
     against disclosure by applicable federal and state law and authorities, including by not limited to the
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     Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,
14
     and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further
15
     objects that the Request seeks materials protected by the privacy right of third party customers.
16
           AT&T further objects to this Request to the extent that it seeks documents relating to ZenKey.
17
     Documents relating to ZenKey are not relevant to this litigation because ZenKey was not used by or
18
     available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that
19
     the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
20
     swap should have or could have been prevented. AT&T further objects that ZenKey is addressed
21
     only in the proposed amended complaint, which the Court has not granted Ross leave to file. AT&T
22
     further objects that to the extent the Request seeks documents regarding ZenKey, the Request is
23
     unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
24
     information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
25
     litigation. AT&T further objects that this Request is not proportionate to the needs of this case to the
26
     extent it seeks documents regarding ZenKey because any tangential relevance Ross could theorize
27
     for ZenKey is outweighed by the burden of navigating these complex confidentiality issues. AT&T
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         Case 4:19-cv-06669-JST Document 99 Filed 05/17/21 Page 19 of 19


1    further objects that Ross can obtain any relevant information regarding ZenKey via public
2    information easily accessible to Ross, including from AT&T’s website.
3           Subject to and without waiving the foregoing General and Specific Objections, AT&T will
4    produce non-privileged responsive documents, to the extent such documents exist and do not pertain
5    to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
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